                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   EASTERN DIVISION
                               File No.: 4:19-cv-00030-BO




  STAN C. STANLEY

  Plaintiffs,

  v.
  UNIVERSAL CABLE HOLDINGS, INC

  d/b/a Suddenlink,

  Defendant

  MOTION FOR EXTENSION

  OF TIME TO SEEK NEW COUNSEL

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  Plaintiff respectfully requests the Court for an order

  extending the time to first of the year to seek new counsel and to allow them to
  get up to speed on the case. I have spoken to several attorneys and they are
  booked up and 30 days wasn't enough time. If I need to file for self-
  representation I can do so if the court wishes while waiting for attorney
  representation.

  This the 20th day of Dec 2021

  Stan Cameron Stanley

  Plaintiff - File No.: 4:19-cv-00030-BO 10/18/21


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